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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                            :      CHAPTER 11
                                                   :
 AUTUMN COVE APARTMENTS, LLC,                      :      Case No. 16-71783-pwb
 OAKLEY WOODS APARTMENTS, LLC                      :      Case No. 16-71787-pwb
 PINE KNOLL APARTMENTS, LLC                        :      Case No. 16-71788-pwb
 SHANNON WOODS APARTMENTS, LLC                     :      Case No. 16-71790-pwb
 GARDEN GATE APARTMENTS, LLC                       :      Case No. 16-72175-pwb
                                                   :
                                                   :      Jointly Administered Under
                   Debtors                         :      Case No. 16-71783-pwb
 ____________________________________              :



                 DISCLOSURE STATEMENT WITH REGARD TO
                   JOINT CHAPTER 11 PLAN SUBMITTED BY
     AUTUMN COVE APARTMENTS, LLC, OAKLEY WOODS APARTMENTS, LLC,
      PINE KNOLL APARTMENTS, LLC, SHANNON WOODS APARTMENTS, LLC,
                   AND GARDEN GATE APARTMENTS, LLC,
                   DEBTORS AND DEBTORS IN POSSESSION

                                         June 2, 2017

                                           Filed by:

   Autumn Cove Apartments, LLC, Oakley Woods Apartments, LLC, Pine Knoll Apartments,
        LLC, Shannon Woods Apartments, LLC, and Garden Gate Apartments, LLC

                               Debtors and Debtors in Possession


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                                             Disclaimer

        All Creditors and Interest Holders are advised and encouraged to read this Disclosure
 Statement and the Plan in their entirety. Plan summaries and statements made in this Disclosure
 Statement are qualified in their entirety by reference to the Plan, the exhibits, and the Disclosure
 Statement as a whole.

        This Disclosure Statement has been prepared in accordance with § 1125 of the
 Bankruptcy Code and Rule 3016(c) of the Federal Rules of Bankruptcy Procedure and not in
 accordance with federal or state securities laws. This Disclosure Statement has neither been
 approved nor disapproved by the Securities and Exchange Commission ("SEC"), nor has the
 SEC passed on the accuracy or adequacy of the statements contained herein. This Disclosure
 Statement was prepared to provide Holders of Claims and the Interest Holder with "adequate
 information" (as defined in the Bankruptcy Code) so that they can make an informed judgment
 about the Plan.

          As to contested matters, adversary proceedings, and other actions or threatened actions,
 this Disclosure Statement shall not constitute nor be construed as an admission of any fact or
 liability, stipulation, or waiver, but rather as a statement made in settlement negotiations.

         The information contained in this Disclosure Statement is included herein for the purpose
 of soliciting acceptances of the Plan and may not be relied upon for any purpose other than to
 make a judgment with respect to, and how to vote on, the Plan.

         This Disclosure Statement shall not be admissible in any nonbankruptcy proceeding
 involving the Debtor and any party, nor shall it be construed to be conclusive advice on the tax,
 securities, or other legal effects of the Plan as to Holders of Claims against, or the Interest
 Holder in, the Debtors; provided, however, that in the event the Debtors defaults under the Plan,
 the Disclosure Statement may be admissible in a proceeding relating to such default for the
 purpose of establishing the existence of such default.
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

 IN RE:                                               :       CHAPTER 11
                                                      :
 AUTUMN COVE APARTMENTS, LLC,                         :       Case No. 16-71783-pwb
 OAKLEY WOODS APARTMENTS, LLC                         :       Case No. 16-71787-pwb
 PINE KNOLL APARTMENTS, LLC                           :       Case No. 16-71788-pwb
 SHANNON WOODS APARTMENTS, LLC                        :       Case No. 16-71790-pwb
 GARDEN GATE APARTMENTS, LLC                          :       Case No. 16-72175-pwb
                                                      :
                                                      :       Jointly Administered Under
                   Debtors                            :       Case No. 16-71783-pwb
 ____________________________________                 :

    I. Introduction and General Information

         This disclosure statement ("Disclosure Statement") is submitted by Autumn Cove
 Apartments, LLC (“Autumn Cove”), Oakley Woods Apartments, LLC (Oakley Woods”), Pine
 Knoll Apartments, LLC (“Pine Knoll”), Shannon Woods Apartments, LLC (“Shannon Woods”),
 and Garden Gate Apartments, LLC (“Garden Gate”), Chapter 11 debtors and debtors in
 possession (collectively, the “Debtors”) to provide information to parties in interest about the
 Debtors’ “Joint Chapter 11 Plan Submitted by Autumn Cove Apartments, LLC, Oakley Woods
 Apartments, LLC, Pine Knoll Apartments, LLC, Shannon Woods Apartments, LLC, and Garden
 Gate Apartments, LLC, Debtors and Debtors in Possession” (the "Plan"). This introductory
 section is qualified in its entirety by the detailed explanations which follow and the provisions of
 the Plan.

         This Disclosure Statement sets forth certain information regarding the Debtors’
 prepetition history and significant events that have occurred during the Debtors’ Chapter 11
 Cases. This Disclosure Statement also describes the Plan, alternatives to the Plan, effects of
 confirmation of the Plan, and the manner in which Distributions will be made under the Plan. In
 addition, this Disclosure Statement discusses the confirmation process and voting procedures that
 Holders of Claims in impaired Classes must follow for their votes to be counted.

          This Disclosure Statement contains summaries of certain provisions of the Plan, statutory
 provisions, documents related to the Plan, events in the Debtors’ Chapter 11 Case, and financial
 information. Although the Debtors believe that the Plan and related document summaries are
 fair and accurate, such summaries are qualified to the extent that they do not set forth the entire
 text of such documents or statutory provisions. Factual information contained in this Disclosure
 Statement has been provided by the Debtors’ management, except where otherwise specifically
 noted. The Debtors are unable to warrant or represent that the information contained herein,
 including the financial information, is without any inaccuracy or omission. The financial data
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 set forth herein, except as otherwise specifically noted, has not been subjected to an independent
 audit.

         Nothing contained herein shall (1) constitute an admission of any fact or liability by any
 party, (2) be admissible in any nonbankruptcy proceeding involving the Debtors or any other
 party; provided, however, that in the event the Debtors defaults under the Plan, the Disclosure
 Statement may be admissible in a proceeding relating to such default for the purpose of
 establishing the existence of such default, or (3) be deemed conclusive advice on the tax or other
 legal effects of the Debtors’ Plan as to Holders of Claims or Interests. You should consult your
 personal counsel or tax advisor on any questions or concerns regarding tax or other legal
 consequences of the Plan.

         Except for historical information, all the statements, expectations, and assumptions,
 including expectations and assumptions contained in this Disclosure Statement, are forward
 looking statements that involve a number of risks and uncertainties. Although the Debtors have
 used their best efforts to be accurate in making these forward-looking statements, it is possible
 that the assumptions made by the Debtors may not materialize. In addition, other important
 factors could affect the prospect of recovery to Creditors.

        Parties voting on the Plan should read both the Plan and this Disclosure Statement.

        A.      Definitions

       Unless otherwise defined, capitalized terms used in this Disclosure Statement have the
 meanings ascribed to them in the Plan.

        B.      The Disclosure Statement

         The primary purpose of this Disclosure Statement is to provide parties entitled to vote on
 the Plan with adequate information so that they can make a reasonably informed decision prior to
 exercising their right to vote to accept or reject the Plan.

        The Bankruptcy Court's approval of this Disclosure Statement constitutes neither a
 guaranty of the accuracy or completeness of the information contained herein, nor an
 endorsement of the Plan by the Bankruptcy Court.

         When and if confirmed by the Bankruptcy Court, the Plan will bind the Debtors and all
 Holders of Claims against the Debtors, whether or not they are entitled to vote or did vote on the
 Plan and whether or not they receive or retain any distributions or property under the Plan. Thus,
 you are encouraged to read this Disclosure Statement carefully. In particular, Holders of
 impaired Claims who are entitled to vote on the Plan are encouraged to read this Disclosure
 Statement, the Plan, and any exhibits to the Plan and Disclosure Statement, carefully and in their
 entirety before voting to accept or reject the Plan. This Disclosure Statement contains important
 information about the Plan, the method and manner of distributions under the Plan,
 considerations pertinent to acceptance or rejection of the Plan, and developments concerning the
 Chapter 11 Case.
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 II.    Voting on the Plan and the Confirmation Process

        A.      Who May Vote

         Only a Holder of an Allowed Claim classified in an impaired Class is entitled to vote on
 the Plan. Under Section 1124 of the Bankruptcy Code, your Class is impaired under the Plan
 unless the Plan (1) leaves unaltered your legal, equitable, and contractual rights, or (2) cures any
 defaults under your contract, reinstates its maturity, compensates you for damages, and does not
 otherwise alter your rights.

         In order to have an Allowed Claim you must (1) have timely filed a proof of claim, or (2)
 been listed in the Schedules as having a Claim that is not contingent, unliquidated or disputed.
 You are not required to file proof of your Claim if your Claim is listed by the Debtors in the
 Schedules and is not shown as being contingent, unliquidated or disputed. If your Claim was
 scheduled as contingent, unliquidated or disputed, you do not have an Allowed Claim, cannot
 vote, and will not participate in any Distributions under the Plan until your Claim becomes an
 Allowed Claim.

         Only Holders of Allowed Claims in an impaired Class may vote on the Plan. Creditors
 whose Claims are unclassified or unimpaired may not vote. Under the Plan, Administrative
 Expense Claims, Professional Fee Claims, Post-Confirmation Administrative Expense Claims,
 and Priority Tax Claims are unclassified and not entitled to vote on the Plan. Under the Plan,
 Classes 1, 2, 3, 5A and 5B are impaired and entitled to vote. Classes 4 and 6 are unimpaired and
 not entitled to vote.


        B.      Voting Instructions

         A ballot with voting instructions is being distributed with this Disclosure Statement.
 Please read the instructions carefully to ensure that your vote will count.

      IN ORDER FOR YOUR BALLOT TO COUNT, IT MUST BE RECEIVED WITHIN
 THE TIME INDICATED ON THE BALLOT AND THE BALLOT MUST CLEARLY
 INDICATE YOUR CLAIM, THE CLASS OF YOUR CLAIM, AND THE AMOUNT OF
 YOUR CLAIM.

      BY ENCLOSING A BALLOT, THE DEBTORS ARE NOT ADMITTING THAT YOU
 ARE ENTITLED TO VOTE ON THE PLAN, ARE NOT ADMITTING THAT YOUR CLAIM
 IS ALLOWED AS SET FORTH ON THE BALLOT, AND ARE NOT WAIVING ANY
 RIGHTS TO OBJECT TO YOUR VOTE OR YOUR CLAIM.

        C.      Requirements of Confirmation

         The Bankruptcy Court can confirm the Plan only if all the requirements of Section 1129
 of the Bankruptcy Code are met. Those requirements include the following:
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             1.   The Plan classifies Holders of Claims and the Interests in a permissible manner;

             2.   The contents of the Plan comply with the technical requirements of the
                  Bankruptcy Code;

             3.   The Plan has been proposed in good faith and not by any means forbidden by law;

             4.   The disclosures concerning the Plan are adequate and include information
                  concerning all payments made or promised in connection with the Plan, as well as
                  the identity, affiliations, and compensation to be paid to all officers, directors, and
                  other insiders; and

             5.   The principal purpose of the Plan is not the avoidance of tax or the avoidance of
                  the securities laws of the United States.

         In addition to the confirmation requirements described above, the Plan must also be
 approved by all impaired Classes of Claims entitled to vote. If, however, the Plan has not been
 approved by all impaired Classes of Claims, the Court may nevertheless "cram down" the Plan
 over the objections of a dissenting Class. The Plan may be "crammed down" so long as it does
 not discriminate unfairly, is fair and equitable with respect to each dissenting Class of Claims,
 and at least one impaired Class has voted in favor of the Plan without regard to any votes of
 insiders.

        D.        Classification of Claims

         For purposes of classification and treatment under this Plan, Claims against the Debtors
 are classified in a single class regardless of whether such Claims are assertable against one or
 more of the Debtors. The Debtors do not believe that such classification or treatment adversely
 affects the rights of any Holder of a Claim. The Debtors do not intend, by so classifying Claims,
 to effect a substantive consolidation of any of the Debtors or their respective Estates. Rather, the
 separate corporate existence of each of the Debtors is preserved under the Plan. Notwithstanding
 the single classification and treatment, the Claims against Autumn Cove, Garden Gate, Oakley
 Woods, Pine Knoll, and Shannon Woods shall be deemed to be in a separate and distinct
 subclass for each respective Debtor for purposes of voting on, and determining acceptance of, the
 Plan.

        E.        Acceptance or Rejection of the Plan and Cram Down

        The Class containing your Claim will have accepted the Plan by the favorable vote of
 majority in number and two-thirds in amount of Allowed Claims actually voting. In the event
 that any impaired Class of Claims does not accept the Plan, the Bankruptcy Court may still
 confirm the Plan if an impaired Class accepts it and if, as to each impaired Class that has not
 accepted the Plan, the Plan "does not discriminate unfairly" and is "fair and equitable." If you
 hold an Allowed Secured Claim, the Plan is fair and equitable if you (i) receive deferred Cash
 payments with an appropriate interest rate, (ii) the Plan provides for the sale of property subject
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 to your Lien and proposes to pay you the proceeds, or (iii) the Plan provides you the indubitable
 equivalent of your Claim. If you hold a General Unsecured Claim, the Plan is fair and equitable
 if you receive property of a value equal to the allowed amount of your Claim or if no junior
 Class receives or retains anything under the Plan.

        F.     Confirmation Hearing

         The Bankruptcy Court has scheduled a hearing on confirmation of the Plan
 ("Confirmation Hearing") at the time indicated in the Order Approving Disclosure Statement and
 Notice of Confirmation Hearing. The Confirmation Hearing may be adjourned from time to time
 without further notice except for announcement at the Confirmation Hearing or notice to those
 parties present at the Confirmation Hearing.

        G.     Objections to Confirmation

         As will be set forth in the Order Approving Disclosure Statement and Notice of
 Confirmation Hearing, any objections to confirmation of the Plan must be in writing, set forth
 the objector's standing to assert any such objection, and must be filed with the Bankruptcy Court
 and served on counsel for the Debtors. The Order Approving Disclosure Statement and Notice of
 Confirmation Hearing contains all relevant procedures relating to the submission of objections to
 confirmation and should be reviewed in its entirety by any party who has an objection to
 confirmation.

 III.   Background

        A.     Description of the Debtors

         Each Debtor is a single purpose entity that owns and operates a single apartment complex
 (collectively, the “Apartments”), as follows: (i) Autumn Cove owns a 46 unit apartment complex
 located at 6200 Hillandale Drive, Lithonia, GA 30058 (the “Autumn Cove Property”); (ii)
 Oakley Woods owns a 82 unit apartment complex located at 6295 Oakley Road, Union City, GA
 30291 (the “Oakley Woods Property”), (iii) Pine Knoll owns a 48 unit apartment complex
 located at 7393 Tara Road, Jonesboro, GA 30236 (the “Pine Knoll Property”); (iv) Shannon
 Woods owns a 134 unit apartment complex located at 100 Sunrise Court, Union City, GA 30291
 (the “Shannon Woods Property”), and (v) Garden Gate owns a 72 unit apartment complex
 located at 1608 Rhodes Lane, Griffin, GA 30224 (the “Garden Gate Property”).


        B.     The Liabilities

 NOTE: By identifying a Claim as filed hereunder, the Debtors are not conceding that such
 Claim is valid and are not waiving any defenses or objections thereto.

        (1)    COMM-2104. The Debtors’ primary secured Creditor is COMM 2014-LC17
 Georgia Properties, LLC (“COMM-2014”) pursuant to the (i) Promissory Note dated June 10,
 2014 (the “Note”), in the original principal amount of $11,000,000 in favor of German American
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 Capital Corporation (“GACC”), (ii) Loan Agreement dated June 10, 2014 (the “Agreement”) in
 favor of GACC, and (iii) Deed to Secure Debt, Assignment of Leases and Rents and Security
 Agreement covering the Apartments in favor of GACC as collateral for the Note (the “Security
 Deeds”), and all documents, executed and related to the Note, Agreement, and Security Deeds,
 all of which have been assigned to COMM-2014 (all such documents, excluding the Cash
 Management Agreement, the Clearing Account Agreement, and the Assignment of Management
 Agreement, are referred to as the “Loan Documents”).

         COMM-2014 filed a proof of claim asserting a total debt owed of $14,454,493.31,
 inclusive of a prepayment penalty totaling $1,865,953.11 (the “Penalty”) and liquidated damages
 totaling $538,655.40 (the “Damages”).

         (2)    Property Tax Claims. The Debtors’ Creditors include three Claims for property
 taxes: (i) the Clayton County Tax Commissioner (“Clayton County”), which filed a Secured
 Claim against Pine Knoll in the amount of $5,748.69; (ii) the DeKalb County Tax Commissioner
 (“DeKalb County”), which filed a Secured Proof of Claim against Autumn Cove in the amount
 of $12,008.83; and (iii) the Spalding County Tax Commissioner, which filed a Secured Proof of
 Claim against Garden Gate in the amount of $2,767.73.

          (3)   Water Claims. The Debtors’ Creditors include four Claims for unpaid water bills:
 (i) City of Atlanta Watershed Management “Atlanta Watershed”), which has a Scheduled
 Secured Claim against Shannon Cove in the amount of $7,404.62; (ii) the Clayton County Water
 Authority (“Clayton Water”), which filed a claim against Pine Knoll in the amount of $9,680.11;
 (iii)the DeKalb County Watershed Management (“DeKalb Watershed”), which filed a Proof of
 Claim against Autumn Cove in the amount of $17,972.12; and (iv) City of Union City (“Union
 City”), which has a Scheduled Secured Claim for water and sewage against Oakley Woods in the
 amount of $75,975.67.

       (4)     Priority Claims. There was one asserted Priority Claim: the Fulton County Tax
 Commissioner (“Fulton County”) filed a Priority Proof of Claim against Shannon Woods in the
 amount of $1,842.35.

        (5)      Convenience Claims. Convenience Claims are General Unsecured Claims of
 $1,000 or less. The Scheduled and filed Convenience Claims are:

        (1) Autumn Cove
        CREDITOR                     AMOUNT                       SCHEDULED/FILED
        Atl. Apartment Assoc.        $72                          Scheduled
        CallMax                      $158                         Scheduled
        Comcast                      $207.58                      Scheduled
        Hope Pest                    $250                         Filed
        Landscape Associates         $1,000                       Scheduled
        IMWAssoc. (Weimark)          $120                         Filed
        Renters Reference            $567.50                      Filed
        VolP-Keys                    $80                          Scheduled
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        (2) Oakley Woods
        CREDITOR                    AMOUNT                      SCHEDULED/FILED
        CallMax                     $70                         Scheduled
        CCC Service                 $70                         Scheduled
        Comcast                     $96.55                      Scheduled
        Hope Pest                   $200                        Filed
        RBBS                        $1,875                      Scheduled
        VolP-Keys                   $128.40                     Scheduled

        In addition to the above Claims, Horace and Delabia Cameron, as surviving parents and
 personal representatives (“Cameron”), assert a wrongful death claim against Oakley Woods.
 Cameron filed a civil action against Oakley Woods and others in the State Court of Fulton
 County, Case No. 16EV002085. Oakley Woods failed to answer. Oakley Woods submitted the
 claim to its insurer, who is currently declining coverage. Oakley Woods is working with
 Cameron’s counsel to resolve the coverage issue.

        (3) Pine Knoll
        CREDITOR                    AMOUNT                      SCHEDULED/FILED
        CallMax                     $158                        Scheduled
        Comcast                     $342.79                     Scheduled
        Golden Rule Plumbing        $280                        Scheduled
        Hope Pest                   $500                        Filed
        IMW Associates              $180                        Filed
        Landscape Associates        $1,000                      Scheduled
        RBBS                        $550                        Scheduled
        Tara Electric Company       $526                        Filed
        VolP-Keys                   $120                        Scheduled
        Weimark Credit              $80                         Scheduled


        (4) Shannon Woods
        CREDITOR                    AMOUNT                      SCHEDULED/FILED
        CallMax                     $198                        Scheduled
        CCC Service                 $95                         Scheduled
        Comcast                     $157.29                     Scheduled
        Gas South                   $138.44                     Scheduled
        Hope Pest                   $300                        Filed
        Multi Family Pest           $150                        Scheduled
        Renters Reference           $934                        Filed
        VolP-Keys                   $128.40                     Scheduled
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         (5) Garden Gate
         CREDITOR                            AMOUNT                             SCHEDULED/FILED
         A Christian Plumber                 $125                               Scheduled
         CallMax                             $178                               Scheduled
         Central Georgia EMC                 $147.75                            Scheduled
         Comcast                             $441.92                            Scheduled
         Dawson Plumbing                     $425                               Scheduled
         Golden Rule Plumbing                $650                               Scheduled
         Hammond Services                    $95.14                             Filed
         Hope Pest                           $200                               Filed
         IMW Assoc. (Weimark)                $160                               Filed
         RBBS                                $200                               Scheduled
         Renters Reference                   $763.50                            Filed
         Shenton Law                         $606.15                            Filed
         VolP-Keys                           $128.40                            Scheduled


         (5)      General Unsecured Claims. The Scheduled and filed General Unsecured Claims
 are:

         (1) Autumn Cove
         CREDITOR                            AMOUNT                             SCHEDULED/FILED
         APM Service, Inc.                   $6,493                             Filed1
         DeKalb Sanitation                   $1,750                             Scheduled
         LK Management                       $4,240.18                          Filed
         MFS Supply                          $1,155                             Filed
         Renters Reference                   $567.50                            Filed
         Strategic Mgmt. Partners            $30,476.75                         Filed2
         Shenton Law Firm                    $8,736.46                          Filed


         (2) Oakley Woods
         CREDITOR                            AMOUNT                             SCHEDULED/FILED
         Advanced Disposal                   $1,524.56                          Scheduled
         Georgia Power                       $2,446.70                          Filed
         I D Investments                     $3,000                             Scheduled
         Landscape Associates                $1,450                             Scheduled
         LK Management                       $10,044.25                         Filed
         RBBS                                $1,875                             Scheduled
         Renters Reference                   $1,247                             Scheduled
         Shenton Law Firm                    $5,314                             Filed

 1
   APM filed as a secured claim, but there is no value to its lien and pursuant to Section 506(d) of the Bankruptcy
 Code APM’s Claim is a General Unsecured Claim.
 2
   SMP filed identical claims in each case, but only asserts a total debt against all Debtors in the amount of
 $30,476.75
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         Strategic Mgmt. Partners            $30,476.75                         Filed3

        In addition to the above Claims, Horace and Delabia Cameron, as surviving parents and
 personal representatives (“Cameron”), assert a wrongful death claim against Oakley Woods.
 Cameron filed a civil action against Oakley Woods and others in the State Court of Fulton
 County, Case No. 16EV002085. Oakley Woods failed to answer. Oakley Woods submitted the
 claim to its insurer, who is currently declining coverage. Oakley Woods is working with
 Cameron’s counsel to resolve the coverage issue.

         (3) Pine Knoll
         CREDITOR                            AMOUNT                             SCHEDULED/FILED
         APM Service                         $15,979                            Filed4
         CCC Service                         $3,387.75                          Scheduled
         Georgia Fire Prot.                  $1,758.29                          Scheduled
         LK Management                       $6,202.04                          Filed
         MFS Supply                          $1,155                             Filed
         Renters Reference                   $1,149                             Filed
         Republic Services                   $2,763.51                          Scheduled
         Shenton Law                         $2,241.81                          Filed
         Strategic Mgmt. Partners            $30,476.75                         Filed5


         (4) Shannon Woods
         CREDITOR                            AMOUNT                             SCHEDULED/FILED
         Advanced Disposal                   $2,032.74                          Scheduled
         APM Service                         $66,329                            Filed6
         I D Investments                     $6,300                             Scheduled
         Landscape Associates                $2,100                             Scheduled
         LK Management                       $6,919.38                          Filed
         Shenton Law                         $6,400.02                          Filed
         Strategic Mgmt. Partners            $30,476.75                         Filed7


         (5) Garden Gate
         CREDITOR                            AMOUNT                             SCHEDULED/FILED
         Advanced Disposal                   $1,623.76                          Scheduled

 3
   SMP filed identical claims in each case, but only asserts a total debt against all Debtors       in the amount of
 $30,476.75
 4
   APM filed as a secured claim, but there is no value to its lien and pursuant to Section 506(d)   of the Bankruptcy
 Code APM’s Claim is a General Unsecured Claim.
 5
   SMP filed identical claims in each case, but only asserts a total debt against all Debtors       in the amount of
 $30,476.75
 6
   APM filed as a secured claim, but there is no value to its lien and pursuant to Section 506(d)   of the Bankruptcy
 Code APM’s Claim is a General Unsecured Claim.
 7
   SMP filed identical claims in each case, but only asserts a total debt against all Debtors       in the amount of
 $30,476.75
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         CCC Service                       $6,130                           Scheduled
         Central Georgia EMC               $147.75                          Scheduled
         City of Griffin                   $1,141.89                        Scheduled
         Landscape Associates              $1,400                           Scheduled
         LK Management                     $6,096.56                        Filed
         MFS Supply                        $5,700                           Filed
         Strategic Mgmt. Partners          $30,476.75                       Filed8


 IV.     The Chapter 11 Case

         A.      Reasons for Filing Chapter 11

         Debtors consist of five separate single purpose entities wholly owned by STOWA
 Member, LLC, which is wholly owned by STOWA Holdings, LLC, which is wholly owned by
 BM Georgia Properties, LLC, which in turn is wholly owned by Bernardo Kohn (“Kohn”)
 Kohn’s son, Michael Kohn (the “Manager”) was the manager of STOWA Member, LLC. The
 Debtors acquired the Apartments in 2013 and executed the Loan Documents with GACC, which
 have been assigned to COMM-2014, on or about June 10, 2014. At the time of the loan, Strategic
 Management Partners (“SMP”) managed the Apartments. Towards the end of 2015, SMP
 withdrew as management asserting that the Manager was not responsive to their needs and
 inquiries. LK Management, LLC (“LK Management”) assumed management in December of
 2015. The Debtors believe LK Management failed to properly manage the Apartments.

         In November of 2016, Kohn reached out to Isaac Perlmutter (“Issy”), who has a
 background in property management and provided services to Kohn previously. Issy discovered
 that Shannon Woods, which “on paper” showed 33.3% occupancy and rents due of $24,791.40,
 actually only had 22 tenants (17% occupancy), with significant outstanding water bills that were
 excessive due to leaks. Additionally, there were 66 violations from the City of Union City.
 Oakley Woods, which is located across the street from Shannon Woods, reflected “on paper” an
 occupancy rate of 29.7% and outstanding rents of $13,585. Issy discovered there were only 8
 tenants, for an occupancy rate of 9.3%.

         Issy further discovered that LK Management did not exercise diligence in rent collection
 and failed to maintain the Apartments in an appropriate manner. Garden Gate had an occupancy
 rate of 89.96%, but the phone was disconnected and bills were not paid. Additionally, McIntosh,
 which leased 22 units, was preparing to leave because the units did not pass DCI inspection. Pine
 Knoll had an occupancy rate of 86.96% but had unpaid water and power bills that resulted in
 regular disconnections. Additionally, the property and liability insurance was unpaid and set for
 termination.

        COMM-2014 had not been paid for a significant amount of time and commenced
 foreclosure for the first Tuesday in December, 2016. The Debtors filed in order to stay the
 foreclosures.
 8
   SMP filed identical claims in each case, but only asserts a total debt against all Debtors in the amount of
 $30,476.75
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        B.     The Bankruptcy Case

         Management. Following the filing, Issy became president of the Debtors and assumed
 control of management. Issy terminated management by LK Management, and on December 23,
 2016, the Debtors filed a motion to reject the LK Management agreement. Issy is paid 5% of
 rents collected for management of the Apartments. Issy also employed 4 “on site” property
 managers to oversee rent collections and to handle day to day responsibilities and 3 maintenance
 persons.

         Cash Collateral Issues: On December 13, 2016, the Debtors filed their “Emergency
 Motion of Debtors for (1) Order Authorizing Use of Cash Collateral on an Emergency Basis to
 Avoid Immediate and Irreparable Harm, and (2) Final Order Authorizing Cash Collateral Use”
 (the "Cash Collateral Motion") to use cash subject to COMM-2014’s security interests and liens.
 On December 15, 2017, the Court held a preliminary hearing on the Cash Collateral Motion,
 after which the Court entered an order on December 16, 2017, authorizing the use of cash
 collateral during the interim period ("Interim Order"). Following the Final Hearing on January
 10, 2017, the Court on January 11, 2017, entered its “Final Order Authorizing Limited Use of
 Cash Collateral by Debtors in Possession and Providing Adequate Protection” (the “Final
 Order”) pursuant to which the Debtors were granted authority to use Cash Collateral and provide
 adequate protection to COMM-2014 in the form of (i) a deposit in January to cover property
 taxes owed on the Oakley Woods Property and Shannon Woods Property, and (ii) interest
 payments of $46,631.08 starting in February, 2017, and (iii) monthly deposits to COMM-2014
 for insurance and taxes.

         Post-Petition Operations: In January, the Debtors decided to close Shannon Woods
 Property to stop the cash hemorrhaging by eliminating the power and water bills. The Debtors
 focused on rebuilding Oakley Woods Property and moving the tenants from the Shannon Woods
 Property to the Oakley Woods Property. The Debtors renovated the vacant units and fixed all
 plumbing issues, as well as cleaning up the property. Oakley Woods now has an occupancy rate
 of 86% and we a rent roll of $42,055. The Debtors believe that within a month the occupancy
 rate 90%. In short, by removing the undesirable tenants and repairing what needed to be repaired,
 this property turned around in less than 4 months. By working with the City of Union City and
 the Mayor of Union City, the 66 open violations were cancelled without any fines. The Debtors
 have started repairing individual buildings at the Shannon Woods property and are taking
 applications for tenants.

         Autumn Cove is now occupied at 98% with a rent roll of $29,362.00, and the last vacant
 unit will be rented by June 15, 2017, bringing the rent roll to $30000.00. The Debtors repaired
 the roofs that needed fixing. For Garden Gate, the Debtors removed all undesirable tenants and
 got the units DCI to approve the units leased to McIntosh. Additionally, while the McIntosh is
 reducing its unit leases from 22 to 16, they are increasing the rent rate from $480 to $675 for a
 one bedroom apartment. And we are actively renting the vacant units and renewing the leases as
 needed at market rents. The Debtor repaired the vacant units at Pine Knoll and are renting
 actively at an occupancy rate of 89% and a rent roll of $24,748.
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 V.     Brief Summary of the Plan

        The following summary of the Plan provides only a brief description of its
 provisions. The summary is qualified in its entirety by the more detailed descriptions of the
 Plan in the Disclosure Statement and by the terms of the Plan itself.

        VI.     Description of the Plan

         The Plan contemplates a capital contribution of $150,000 from Kohn for the repair and
 rehab of the Shannon Woods Property, with Plan payments to be made from rent collections.
 Under the Plan, the debt owed COMM-2014 will be amortized at the contract rate of 4.84% over
 27 years (it was a 30 year amortization under the Loan Documents) and will be paid in full on
 July 6, 2024, the Stated Maturity Date under the Loan Documents. Property Tax Claims will be
 paid in four quarterly installments beginning three months after the Effective Date and
 continuing every three months until paid with interest at the rate required under Section 511 of
 the Bankruptcy Code until paid in full. Water Claims will be paid in eight quarterly installments
 beginning three months after the Effective Date and continuing every three months until paid
 with interest at the rate required under Section 511 of the Bankruptcy Code until paid in full. The
 Priority Tax Claim will be paid in full on the Effective Date. Convenience Class Creditors will
 not accrue interest and will be 50% on the Effective Date and 50% sixty days later. General
 Unsecured Claim Creditor will be paid in eight quarterly installments beginning three months
 after the Effective Date and continuing every three months until paid in full without interest.

        A.      Treatment of Claims and Interests

        (1)     Administrative Claims. Allowed Administrative Claims are not classified in this
 Plan and are treated as follows:

        (a)     Payment of Allowed Administrative Claims. Holders of Allowed Administrative
                Claims other than Professional Fee Claims will be paid in full in cash as soon as
                practicable after the later of the Effective Date or the date such Claim becomes an
                Allowed Administrative Claim, unless otherwise agreed to by the Holder thereof.
                Other than quarterly United States Trustee's fees, which will be paid as they come
                due, and Professional Fee Claims, which may be filed at any time prior to entry of
                a Final Decree, any request for payment of an Administrative Claim arising on or
                before the Confirmation Date must be filed no later than the Claims Bar Date
                (defined as the thirty (30) days after the Effective Date) or such Administrative
                Claim will be forever barred. The Reorganized Debtors will have the right to
                object to the allowance of any Administrative Claim. The Debtor does not
                anticipate any administrative claims other than Professional Fee Claims.

        (b)     Payment of Professional Fee Claims. Professional Fee Claims with regard to the
                period prior to entry of the Confirmation Order shall be paid in the amount
                awarded pursuant to orders of the Bankruptcy Court and will be paid in full in
                Cash as soon as practicable after the later of the Effective Date or the date such
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               Claim becomes an Allowed Administrative Claim, unless otherwise agreed to by
               the Holder thereof. The only Professional fee Claims anticipated are the claims of
               Lamberth, Cifelli, Ellis & Nason, P.A., counsel for the Debtor, which are
               estimated to be between $90,000. Kohn will prove a capital contribution to make
               up the difference between the prepetition retainer ($16,414.50) and the Allowed
               Fees.

         (2)     Treatment of Other Certain Unclassified Claims. Other unclassified Claims are
 treated as follows:

        (a)    Post-Confirmation Administrative Claims. Post-Confirmation Administrative
               Claims, other than Post-Confirmation Professional Fee Claims, will be paid as the
               same come due, without the necessity of Bankruptcy Court approval. Upon
               motion of any party in interest, the Bankruptcy Court may review any payment of
               such Post-Confirmation Administrative Claims and, if appropriate, order the
               return or refund of any such payment. Until entry of a Final Decree, all Post-
               Confirmation Professional Fee Claims for period prior to the entry of a Final
               Decree will be subject to review by the Notice Parties. A party seeking payment
               of a Post-Confirmation Professional Fee Claim will serve (by electronic mail or
               first class mail) its invoice on the Notice Parties. Unless one or more of the Notice
               Parties files an objection with the Bankruptcy Court within fourteen (14) days of
               the service of the invoice, the Reorganized Debtors will be fully authorized
               without an order of the Bankruptcy Court to pay, on a monthly basis, one hundred
               percent (100%) of the fees and one hundred percent (100%) of the expenses
               incurred. If an objection is filed, then the Reorganized Debtors will still be fully
               authorized without an order of the Bankruptcy Court to pay, on a monthly basis,
               one hundred percent (100%) of the fees and one hundred percent (100%) of the
               expenses incurred that are not the subject to an objection. The Bankruptcy Court
               will retain jurisdiction over any objections to such fees and expenses that are filed
               and shall be authorized to determine whether to allow any disputed Post-
               Confirmation Professional Fee Claims following a hearing on no less than
               fourteen (14) days’ notice to the parties to the dispute. Following entry of a Final
               Decree, Post-Confirmation Professional Fee Claims may be paid as they come
               due.

               Fees of U.S. Trustee. Any pre-confirmation fees due to the United States Trustee
               will be paid by the Effective Date. Post-Confirmation fees due the United States
               Trustee shall be paid on the date that such fees are due.

        (3)    Treatment of Classified Claims and Interests.

         General Provisions Regarding Secured Claims. Following Confirmation, COMM-2014,
 the Holders of Property Tax Claims, and the Holders of Water Claims will retain their Liens
 against all property to which such Liens attached as of the Petition Date.
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         Class 1 (COMM-2014). Class 1 consists of the Allowed Secured Claim of COMM-2014,
 which has a properly perfected Lien against the Apartments and their rents. COMM-2014 filed a
 proof of claim asserting a total debt owed of $14,454,493.31, inclusive of a prepayment penalty
 totaling $1,865,953.11 (the “Penalty”) and liquidated damages totaling $538,655.40 (the
 “Damages”). COMM-2014’s Allowed Secured Claim will include all interest and charges set
 forth in their proof of claim, but will not include the Penalty and Damages. COMM-2014 will
 also be entitled to attorney’s fees and other costs allowable under Section 506(b) of the
 Bankruptcy Code, plus postpetition interest that accrued and remains unpaid. Debtors
 commenced interest payments in February of 2017 and also commenced escrowing with
 COMM-2014 amounts for the payment of taxes and insurance.

          Under the Loan Documents, the principal amount under the Note was $11,000,000
 amortized over thirty (30) years at 4.84% interest, with a Stated Maturity Date of July 6, 2024.
 Under the Plan, COMM-2014’s Allowed Secured Claim (estimated to be $12,049,884.80 as of
 the Petition Date, plus estimated postpetition interest totaling approximately $87,262.16, for a
 total of $12,137,146.96, plus §506(b) charges and attorney’s fees) will be amortized over at
 4.84% interest over 27 years from June 10, 2017, and will be payable in monthly installments of
 principal and interest beginning on the 10th day of the first month after the Confirmation Date, or
 the 10th of the month during which Confirmation occurs if Confirmation occurs prior to the 10th
 of the month, and continuing on a like day of every month thereafter until the Stated Maturity
 Date of July 6, 2024, at which point the entire amount due and owing COMM-2014 shall be paid
 in full. Interest shall be calculated as provided in the Loan Documents. As provided in the Loan
 Documents, any payment (other than the Outstanding Principal Balance due on the Maturity
 Date) not paid when it is due will be subject to a Late Payment Charge calculated as set forth in
 the Loan Documents. The monthly installments are estimated to be $65,885.

        As provided in the Loan Documents, Debtor will not have the right to prepay the loan in
 whole or in part prior to the Stated Maturity Date. If such prepayment occurs, or Debtor defaults
 under this Plan and such default is not cured such that the debt is accelerated, the debt owed will
 include the Penalty and Damages calculated in accordance with the Loan Documents.

         Confirmation of the Plan will act as an acceptance and agreement by COMM-2014 that
 the current insurance policies in place satisfy the requirements of the Loan Documents, including
 Section 5 of the Agreement. The provisions of Sections 5.3 and 5.4 of the Agreement will remain
 in place following Confirmation of the Plan.

        Following Confirmation, Debtors will deposit with COMM-2104 the amounts for the Tax
 Funds and Insurance Funds as provided in the Loan Documents, including Sections 6 and 6.4 of
 the Agreement. Debtors will not be required to maintain or deposit with COMM-2014 any other
 funds set forth in Section 6 of the Agreement.

        The Loan Documents will be modified so that the Financial Reporting requirements of
 Section 4.9 of the Agreement will be deemed satisfied until the close of the Case following the
 entry of a Final Decree by the filing of monthly Postpetition Operating reports in accordance
 with the guidelines of the U.S. Trustee’s office. After entry of a Final Decree, Debtor will
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 provide such financial reports identified in Section 4.9 of the Agreement as requested in writing
 by COMM-2014, subject to the provisions of Section 4.9.7 of the Agreement.

         Confirmation of the Plan will constitute a cure and reinstatement of any defaults under
 the Loan Documents as of the Confirmation Date. Section 8.1 of the Agreement will be modified
 to (a) reflect that the Reserve Funds referenced in Section 8.1(i)(F) refer only to the Tax Fund
 and Interest Fund; (b) the filing of this Case does not constitute an Event of Default under
 Section 8.1(viii) of the Agreement; and (c) delete Section 8.1(xiv) in its entirety.

         In the event the Debtors default under the provisions of this Plan and the Loan
 Documents, as modified herein, COMM-2-14 may send a Notice of Default to the Debtors and
 their counsel (by facsimile or electronic mail). If the default is a monetary default and is not
 cured within ten (10) Business Days of the Notice, COMM-2014 may exercise its rights under its
 Loan Documents, including Section 8.2 of the Agreement. If the default is a non-monetary
 default and is not cured within thirty (30) Business Days of the Notice, COMM-2014 may
 exercise its rights under its Loan Documents, including Section 8.2 of the Agreement. If
 COMM-2014 sends Notice of Default on three separate occasions COMM-2014 will not be
 required to send a fourth one following a subsequent default, but may exercise its rights under its
 Loan Documents without such Notice. In the event of a dispute as to whether a default has
 occurred, the Debtors may request that the Bankruptcy Court determine whether a default has
 occurred, and the Bankruptcy Court will retain jurisdiction for such purposes.

         Class 2 (Property Tax Claims). Class 2 consists of the Allowed Secured Property Tax
 Claims. The Allowed Property Tax Claims will accrue interest in accordance with Section 511 of
 the Bankruptcy Code at the rate provided by applicable nonbankruptcy law. The Holders will be
 paid in four (4) quarterly payments beginning on the first Business Day that is three (3) months
 after the Effective Date and continuing on a like day every three (3) months thereafter until paid
 in full. In the event the Debtors default under the provisions of this Plan, the Holder of the
 Property Tax Claim for which default has occurred may send a Notice of Default to the Debtors
 and their counsel (by facsimile or electronic mail). If the default is not cured within ten (10)
 Business Days, such Holder may exercise its rights under applicable Georgia law. If the Holder
 of the Property Tax Claim for which default has occurred sends Notice of Default on three
 separate occasions such Holder will not be required to send a fourth one following a subsequent
 default, but may exercise its rights under applicable Georgia law without such Notice. In the
 event of a dispute as to whether a default has occurred, the Debtors may request that the
 Bankruptcy Court determine whether a default has occurred, and the Bankruptcy Court will
 retain jurisdiction for such purposes.


         Class 3 (Water Claims). Class 3 consists of the Allowed Water Claims. The Allowed
 Water Claims will accrue interest in accordance with Section 511 of the Bankruptcy Code at the
 rate provided by applicable nonbankruptcy law. The Holders will be paid in eight (8) quarterly
 payments beginning on the first Business Day that is three (3) months after the Effective Date
 and continuing on a like day every three (3) months thereafter until paid in full. In the event the
 Debtors default under the provisions of this Plan, the Holder of the Water Claim for which
 default has occurred may send a Notice of Default to the Debtors and their counsel (by facsimile
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 or electronic mail). If the default is not cured within ten (10) Business Days, such Holder may
 exercise its rights under applicable Georgia law. If the Holder of the Property Water for which
 default has occurred sends Notice of Default on three separate occasions such Holder will not be
 required to send a fourth one following a subsequent default, but may exercise its rights under
 applicable Georgia law without such Notice. In the event of a dispute as to whether a default has
 occurred, the Debtors may request that the Bankruptcy Court determine whether a default has
 occurred, and the Bankruptcy Court will retain jurisdiction for such purposes.

        Class 4 (Priority Claims). Class 4 consists of the Holders of Allowed Priority Claims. On
 the Effective Date of the Plan, Debtors will pay the Holders of Allowed Priority Claims the full
 amount of their Allowed Claims.

         Class 5A (Convenience Claims). Class 5A consists of the Allowed Convenience Claims.
 The Holders of Convenience Claims will receive 100% of their Allowed Claims (without
 interest) payable as follows: each Holder will receive fifty percent (50%) of their Allowed Claim
 on the Effective Date, and the remaining fifty percent (50%) sixty (60) days after the Effective
 Date. Any Holder of a Class 5B Claim may elect to reduce their Claim to $1,000 and receive
 treatment as a Class 5A Creditor.

         Class 5B (General Unsecured Claims). Class 5 consists of the Holders of General
 Unsecured Claims. The Holders will be paid the amount of their Allowed General Unsecured
 (without interest) Claims in eight (8) quarterly payments beginning on the first Business Day that
 is three (3) months after the Effective Date and continuing on a like day every three (3) months
 thereafter until paid in full, without interest. In the event the Debtors default under the provisions
 of this Plan, the Holder of the General Unsecured Claims for which default has occurred may
 send a Notice of Default to the Debtors and their counsel (by facsimile or electronic mail). If the
 default is not cured within ten (10) Business Days, such Holder may exercise its rights under
 applicable Georgia law. If the Holder of the General Unsecured Claims for which default has
 occurred sends Notice of Default on three separate occasions such Holder will not be required to
 send a fourth one following a subsequent default, but may exercise its rights under applicable
 Georgia law without such Notice. In the event of a dispute as to whether a default has occurred,
 the Debtors may request that the Bankruptcy Court determine whether a default has occurred,
 and the Bankruptcy Court will retain jurisdiction for such purposes. Any Holder of a Class 5B
 Claim may elect to reduce their Claim to $1,000 and receive treatment as a Class 5A Creditor.

      Class 6 (Equity Interests). Class 6 shall consist of the Equity Member. The Equity
 Member will retain its Interests in the Debtors as such Interests existed as of the Petition Date.


        B.      Means for Funding the Plan

        Attached hereto as Exhibit “A” is a budget showing anticipated rents and expenses for
 each Debtor. Attached hereto as Exhibit “B” is a rehabilitation and repair budget for the Shannon
 Woods Property (the “Rehab Budget”). Attached hereto as Exhibit “C” is a budget for
 cumulative rents and expenses for all Debtors, reflecting the capital contribution from Kohn as
 provided herein. Debtors have commenced and will continue to rehab the Shannon Woods
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 Property in accordance with the Rehab Budget. On the Effective Date, Kohn will deposit with
 the Debtors $150,000 to be applied to the Rehab Budget. Plan payments will be made from net
 rental collections after payment of operating expenses and the Rehab Budget. Debtors’
 Professional Fee Claims will be paid, upon allowance, by a contribution by or on behalf of Kohn
 equal to the difference between the Allowed Fees and the prepetition retainer. Any Allowed
 amounts over and above such contribution and application of the prepetition retainer will be paid
 from rentals at a rate to be agreed upon between the Debtors and their counsel.


        C.      General Plan Provisions

         (1)     Claims Bar Date. (a) with respect to Administrative Claims that accrued or were
 incurred during the period commencing after the Petition Date but prior to the Confirmation
 Date, the first Business Day that is thirty (30) days after the Effective Date; or (b) with respect to
 Prepetition Claims, May 10, 2017.

         (2)    Avoidance Actions and Causes of Action. The Debtors do not believe there are
 any Avoidance Actions or Causes of Action and, accordingly, will not pursue any; provided,
 however, that the Debtors retain any claims against LK Management for damages of any kind
 arising as a result of LK Management’s management of the Apartments and any and all other
 causes of action that may exist against LK Management.

        (3)    Revesting of Assets. All of the property of the estate will vest with the
 Reorganized Debtors on the Effective Date free and clear of Liens, except as specifically
 provided herein.

         (4)      Joint and Several Liability. Confirmation of the Plan will not affect the joint and
 several liability of any codefendant, co-obligor, guarantor, or other entity that may be liable with
 the Reorganized Debtors, and such liability will continue unabated to the extent of applicable
 non-bankruptcy law. Nothing herein will be deemed to affect any right of subrogation to which
 any guarantor may be entitled under applicable non-bankruptcy law.

        (5)     Temporary Injunction. The Confirmation Order will operate as an injunction
 against any acts against the Reorganized Debtors and the Apartments to initiate, prosecute,
 enforce, liquidate, collect or otherwise assert any Claim against the Reorganized Debtor and the
 Apartments except as provided in this Plan. Any act in violation of this provision will be null and
 void.

        (6)     Management of the Reorganized Debtors. Management of the Reorganized
 Debtors will continue to be with Issy, who will be paid 5% of rental collactions.

        (6)     Effect of Confirmation. This Plan will be binding on all parties in interest upon
 entry of the Confirmation Order. Pursuant to Section 1141(d)(1) of the Bankruptcy Code, the
 Debtors will receive a discharge upon entry of the Confirmation Order confirming the Plan.
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 VII.   Tax Consequences

         Tax consequences resulting from confirmation of the Plan can vary greatly among the
 various Classes of Creditors and Interests, or within each Class. Significant tax consequences
 may occur as a result of confirmation of the Plan under the Internal Revenue Code and pursuant
 to state, local, and foreign tax statutes. Because of the various tax issues involved, the
 differences in the nature of the Claims of various Creditors, the taxpayer status and methods of
 accounting and prior actions taken by Creditors with respect to their Claims, as well as the
 possibility that events subsequent to the date hereof could change the tax consequences, this
 discussion is intended to be general in nature only. No specific tax consequences to any Creditor
 or Holder of an Interest are represented, implied, or warranted. Each Holder of a Claim or
 Interest should seek professional tax advice, including the evaluation of recently enacted or
 pending legislation, because recent changes in taxation may be complex and lack authoritative
 interpretation.

      THE PROPONENTS ASSUME NO RESPONSIBILITY FOR THE TAX EFFECT
 THAT CONSUMMATION OF THE PLAN WILL HAVE ON ANY GIVEN HOLDER OF A
 CLAIM OR INTEREST. EACH HOLDER OF A CLAIM OR INTEREST IS STRONGLY
 URGED TO CONSULT THEIR OWN TAX ADVISORS CONCERNING THE FEDERAL,
 STATE, LOCAL AND FOREIGN TAX CONSEQUENCES OF THE PLAN.

         The receipt by a Creditor or Interest Holder of Cash or property in full or partial payment
 of its Claim or Interest may be a taxable event. To the extent that a portion of the Cash or the fair
 market value of any property received is attributable to accrued and unpaid interest on a Claim
 being paid, a Creditor may recognize interest income. A Creditor or Interest Holder may also
 recognize gain or loss equal to the difference between the sum of the amount of cash received
 and the adjusted basis in the Claim or Interest for which the Holder receives amounts under the
 Plan. Such gain or loss may be treated as ordinary or capital depending upon whether the Claim
 or Interest is a capital asset.


 VIII. “Best Interests” Test

         In order to confirm the Plan the Bankruptcy Court must determine that the Plan is in the
 best interest of all Creditors that do not accept the Plan. The “Best Interest Test” requires that the
 Plan provide each member of each impaired Class a recovery that has a present value at least
 equal to the present value of the distribution that each Creditor would receive if the Debtors were
 liquidated under Chapter 7 of the Bankruptcy Code.

         If the Debtors were liquidated under Chapter 7, a trustee would be appointed to liquidate
 the assets of the Debtors and distribute the proceeds in accordance with the legal priorities
 established under Bankruptcy Code. All expenses of the Chapter 7 case, including fees of the
 trustee, the attorneys’ fees for the trustee’s counsel, accountants, and other professionals
 appointed in the Chapter 7 case, are paid in full before any payments may be made on account of
 Administrative Claims in the Chapter 11 case, which in turn must be paid in full before any
 payments would be made to pre-petition Creditors. In this case, COMM-2014 would likely get
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 stay relief or the trustee would likely abandon the Apartments. If the trustee tries to sell the
 Apartments, COMM-2014 could assert the Penalty and Damages against the proceeds, meaning
 that there would be no proceeds available to pay Convenience Claims and General Unsecured
 Claims. COMM-2014’s rights to the Penalty and Damages if paid prior to the Stated Maturity
 Date protects COMM-2014 and gives them the financial benefits to which they are entitled under
 the Loan Documents. Property Tax Claims and Water Claims are paid quarterly with interest at
 the rate required under Section 511 of the Bankruptcy Code. With respect to Property Tax
 Claims, the Plan provides for the deposit of tax payments with COMM-2014 to ensure the
 payment of future tax years. Convenience Claims will be paid in two installments and will be
 satisfied sixty days after the Effective Date. General Unsecured Claim Holders will receive the
 principal amount of their Claims in quarterly pro rata installments. Accordingly, the Debtors
 believe that confirmation of the Plan is in the best interest of Creditors.


 IX.    PURPOSE OF DISCLOSURE STATEMENT

        This Disclosure Statement has been prepared and presented for the purpose of permitting
 you to make an informed judgment regarding the Plan. Please read the Plan in full and consult
 with your counsel if you have questions. If the Plan is confirmed, its terms and conditions will
 be binding on all parties in interest. The Debtors believe that the Plan is in the best interest of the
 Creditors and the Equity Member.

 X.     CONCLUSION

         The Debtors believe the Plan is in the best interests of Creditors and the Equity Member
 and is feasible. Accordingly, the Debtors request that the Court confirm the Plan.

        Dated this 2nd day of June, 2017

                                                    LAMBERTH, CIFELLI,
                                                     ELLIS & NASON, P.A.
                                                    Attorneys for the Debtor

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